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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                              Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                      SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                              Defendant.


        PLAINTIFFS’ RENEWED MOTION FOR SCHEDULING CONFERENCE

       Pursuant to Local Civil Rule 7 and the Court’s February 8, 2024 Order, Plaintiffs—Dr.

Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven Harris, Black Voters

Matter Capacity Building Institute, and Louisiana State Conference of the NAACP—respectfully

renew their motion for a scheduling conference. Plaintiffs’ memorandum in support of this motion

is attached.


Date: March 5, 2024                         ‫ككككككك‬Respectfully submitted,


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